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                EXHIBIT 




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                EXHIBIT 
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1                    UNITED STATES DISTRICT COURT
2                   NORTHERN DISTRICT OF CALIFORNIA
3                        SAN FRANCISCO DIVISION
4     __________________________________
5     WAYMO LLC,                                          )
                                                          )
6                       Plaintiff,                        )
                                                          )
7        vs.                                              )   Case No.
                                                          )   17-cv-00939-WHA
8     UBER TECHNOLOGIES, INC.;                            )
      OTTOMOTTO, LLC; OTTO TRUCKING LLC, )
9                                                         )
10                    Defendants.                         )
11    ___________________________________)
12
13      HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL'S EYES ONLY
14
15       VIDEOTAPED 30(b)(6) DEPOSITION of OTTO TRUCKING
16          by and through its Designated Representative
17                          ADAM BENTLEY, ESQ.
18                      San Francisco, California
19                      Tuesday, August 22, 2017
20                                 Volume I
21
22    Reported by:
      MARY J. GOFF
23    CSR No. 13427
      Job No. 2684904B
24
25    PAGES 1 - 95

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1     duties.                                                     03:26:56

2             Q   (BY MR. JUDAH) Does Mr. Levandowski owe a       03:26:57

3     duty of loyalty to Otto Trucking?                           03:26:59

4                 MR. SCHUMAN:     Same objections.               03:27:02

5             A   And again, I don't have the LLC Agreement       03:27:05

6     in front of me, but my understanding is that duties         03:27:07

7     are generally disclaimed.                                   03:27:10

8             Q   (BY MR. JUDAH) Is Mr. Levandowski               03:27:15

9     complying with all corporate duties he owes Otto            03:27:17

10    Trucking?                                                   03:27:19

11                MR. SCHUMAN:     Objection, beyond the scope.   03:27:21

12    And I'm also going to instruct you not to reveal any        03:27:22

13    attorney/client privileged communications.                  03:27:26

14            A   So as the notes indicate, the primary           03:27:29

15    activity --                                                 03:27:33

16                MS. EWINS:     Object as to form.               03:27:35

17            A   -- the primary matter that the managing         03:27:37

18    members have been -- have had to handle up to this          03:27:40

19    point have been equity issuances, of which there's          03:27:46

20    no more equity being issued.        And both managing       03:27:49

21    members perform their duties in connection with that        03:27:54

22    item.                                                       03:27:57

23            Q   (BY MR. JUDAH) Has Mr. Levandowski              03:27:58

24    performed any corporate duties on behalf of Otto            03:27:59

25    Trucking since January 1, 2017?                             03:28:02

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1                  MR. SCHUMAN:   Objection as to form.           03:28:09

2          A       I'm not aware that there's been a written      03:28:13

3     consent since the 1st of the year of 2017.                  03:28:16

4          Q       (BY MR. JUDAH) And the written consent         03:28:21

5     would be the way any corporate action would -- would        03:28:25

6     take place?                                                 03:28:29

7          A       Yes.                                           03:28:30

8          Q       So the same question with respect to Otto      03:28:32

9     Transport.                                                  03:28:35

10         A       I'm not aware of any corporate action          03:28:37

11    taken by Otto Transport.                                    03:28:40

12         Q       Since January 1, 2017?                         03:28:43

13         A       Correct.                                       03:28:46

14         Q       How about this -- going back to the            03:28:55

15    response for Topic 1, this Framework Agreement              03:28:56

16    between Otto Trucking and Uber, wasn't that some            03:29:00

17    sort of corporate action?                                   03:29:03

18         A       So that was an action taken in connection      03:29:06

19    with the Merger Agreement.      And in 2016, there was      03:29:07

20    already a broad approval by the managing members of         03:29:11

21    Otto Trucking to enter into the Merger Agreement and        03:29:14

22    other transactions or documents related thereto.            03:29:17

23         Q       Did someone sign that Framework Agreement      03:29:21

24    on May 18, 2017?                                            03:29:24

25         A       Yes.                                           03:29:27

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1     question was specific to the Otto Transport-owned           03:39:51

2     trucks, yes.                                                03:39:54

3          A       Okay.                                          03:39:57

4                  MR. SCHUMAN:   Objection as to form; beyond    03:39:58

5     the scope.                                                  03:39:58

6          A       No, I'm not aware of any fully autonomous      03:40:02

7     operation of any of Otto Transport's trucks.                03:40:06

8          Q       (BY MR. JUDAH) Does Otto Trucking have any     03:40:10

9     knowledge as to when the Otto Transport-owned trucks        03:40:12

10    will be commercially launched as autonomous                 03:40:16

11    vehicles?                                                   03:40:22

12                 MR. SCHUMAN:   Objection as to form;           03:40:23

13    objection, beyond the scope of the 30(b)(6) Notice.         03:40:25

14         A       Otto Trucking does not have knowledge as       03:40:33

15    to when those trucks will be commercialized or              03:40:35

16    exactly when they would be able to have fully               03:40:38

17    autonomous capabilities.                                    03:40:40

18         Q       (BY MR. JUDAH) How close is Otto Trucking      03:40:44

19    to having custom LiDAR that is ready to go to               03:40:47

20    market?                                                     03:40:50

21                 MR. SCHUMAN:   Objection as to form.           03:40:53

22         A       Otto Trucking is nowhere close to that         03:40:55

23    since it doesn't have any custom LiDAR program.             03:40:59

24         Q       (BY MR. JUDAH) Well, what else does Otto       03:41:03

25    Trucking need to do to get its custom LiDAR ready to        03:41:04

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